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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In Re:                                                  :    Bankruptcy No. 20-22898-CMB
                                                         :
 RONALD G. LINABURG                                      :
                                                         :            Chapter 11
                         Debtor(s)                       :            Document No. 421
                                                         :
                 v.                                      :
                                                         :
 PNC BANK, N.A.,                                         :
                                                         :
                         Respondent                      :


                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To: Clerk of Courts

          PLEASE TAKE NOTICE that PNC Bank, N.A. (“PNC”) hereby appears in the above-
 captioned case by its counsel, John J. Berry, Esquire, and Dinsmore & Shohl LLP; counsel hereby
 enters his appearance pursuant to §1109(b) of Title 11 of the United States Code, 11 U.S.C. §101,
 et seq. (the "Bankruptcy Code"), and Fed. R. Bankr. P. 9010(b); and such counsel hereby requests,
 pursuant to Fed. R. Bankr. P. 2002, 3017 and 9007 and §§342 and 1109(b) of the Bankruptcy
 Code, that copies of all notices and pleadings given or filed in this case be given and served upon
 them at the following address:

                                John J. Berry, Esquire
                                john.berry@dinsmore.com
                                Dinsmore & Shohl LLP
                                Six PPG Place, Suite 1300
                                Pittsburgh, PA 15222
                                (412) 281-5000 (Phone)
                                (412) 281-5055 (Fax)


          Please take further notice that pursuant to §1109(b) of the Bankruptcy Code, the foregoing
 demand includes not only the notices and papers referred to in the Federal Rules of Bankruptcy

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 Procedure specified above, but also includes, without limitation, any notice, application,
 complaint, demand, motion, petition, pleading or request, whether formal or informal, written or
 oral, and whether transmitted or conveyed by mail, delivery, telephone, telecopy, telegraph, telex,
 or otherwise filed or made with regard to the referenced case and all proceedings therein.

        This Notice of Appearance and Demand for Service of Papers is not (a) a waiver or release
 of PNC’s rights against any person, entity or property; (b) a consent by PNC to the jurisdiction of
 this Court with respect to this case or other cases, if any, commenced in the case against or
 otherwise involving PNC; (c) a waiver or release of PNC’s right to trial by jury as to any and all
 matters so triable herein or in other matters or proceedings, if any, commenced in the case against
 or otherwise involving Innovative or in any case, controversy or proceeding related hereto, whether
 or not the same be designated legal or private rights and notwithstanding the designation or not of
 such matters as "core proceedings" pursuant to 28 U.S.C. Section 157(b)(2), and whether such jury
 trial right is pursuant to statute of the United States Constitution; (d) a waiver or release of PNC’s
 right to have any and all final orders in any and all non-core matters or proceedings entered only
 after de novo review by a United States District Court Judge; (e) a waiver of the right to move to
 withdraw the reference in any proceeding which may be commenced in this case against or
 otherwise involving PNC; or (f) an election of remedy.


                                                DINSMORE & SHOHL LLP

 Dated: October 26, 2021                        /s/ John J. Berry
                                                John J. Berry, Esquire
                                                PA ID # 313481
                                                john.berry@dinsmore.com
                                                Six PPG Place, Suite 1300
                                                Pittsburgh, PA 15222
                                                Telephone:     (412) 281-5000
                                                Facsimile:     (412) 281-5055




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